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                                                                                                                    2018 Jun-12 PM 02:48
                                                                                                                    U.S. DISTRICT COURT
                                                                                                                        N.D. OF ALABAMA


                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION


IN RE: BLUE CROSS BLUE SHIELD                           )        Master File No. 2:13-CV-20000-RDP
ANTITRUST LITIGATION                                    )
(MDL No. 2406)                                          )        This document relates to all cases.


                   ORDER REGARDING CERTIFICATION
                       UNDER 28 U.S.C. § 1292(b) AND
         AMENDED ORDER REGARDING SECTION 1 STANDARD OF REVIEW

         In accordance with the accompanying Memorandum Opinion, Defendants’ Motion for

Certification under 28 U.S.C. § 1292(b) (Doc. # 2085) is GRANTED. The court’s April 5, 2018

Order Regarding Section 1 Standard of Review and Single Entity Defense is AMENDED as

follows: The court’s order holding that “Defendants’ aggregation of geographic market allocations

and output restrictions are due to be analyzed under a per se standard of review” (Doc. # 2064)

involves a controlling question of law as to which there is substantial ground for difference of

opinion, and an immediate appeal from the order may materially advance the ultimate termination

of this litigation.1

         The court therefore certifies the following controlling question of law:

         Whether Topco, Sealy, and Palmer remain viable and require the application of the
         per se rule to a combination of restraints, involving horizontal market allocation
         and horizontal output restrictions, agreed to by competitors and potential
         competitors, where Defendants claim, under BMI, that there are at least arguable
         procompetitive benefits to the combination?




         1
             The court enters this Certification Order with the understanding -- agreed to by all parties on the record --
that (1) the parties will not seek to stay all proceedings in this MDL action while the interlocutory appeal is pending,
and (2) the parties will work together in good faith to determine what discovery and litigation steps can be undertaken
while the appeal is pending.
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DONE and ORDERED this June 12, 2018.



                              _________________________________
                              R. DAVID PROCTOR
                              UNITED STATES DISTRICT JUDGE




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